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            EXHIBIT A
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     SUPREME COURT OF THE STATE OF NEW YORK
     COUNTY OF ERIE
                       --------
     ------------------------------------------------------------------x:
     JOSHLYN M. WASHINGTON, ET AL.

                                         Plaintiff/Petitioner,

                       - against-                                           Index No. 815646/2017
      CSX TRANSPORTATION, INC.

                                         Defendant/Respondent.
     ------------------------------------------------------------------x:
                                   NOTICE OF COMMENCEMENT OF ACTION
                                 SUBJECT TO MANDATORY ELECTRONIC FILING

            PLEASE TAKE NOTICE that the matter captioned above has been commenced as an
     electronically filed case in the New York State Courts Electronic Filing System ("NYSCEF") as
     required by CPLR § 2111 and Uniform Rule § 202.5-bb (mandatory electronic filing). This notice
     is being served as required by that rule.


            NYSCEF is designed for the electronic filing of documents with the County Clerk and the
     court and for the electronic service of those documents, court documents, and court notices upon
     counsel and unrepresented litigants who have consented to electronic filing.


             Electronic filing offers significant benefits for attorneys and litigants, permitting papers to be
     filed with the County Clerk and the court and served on other parties simply, conveniently, and
     quickly. NYSCEF case documents are filed with the County Clerk and the court by filing on the
     NYSCEF Website, which can be done at any time of the day or night on any day of the week. The
     documents are served automatically on all consenting e-filers as soon as the document is uploaded
     to the website, which sends out an immediate email notification of the filing.


             The NYSCEF System charges no fees for filing, serving, or viewing the electronic case
     record, nor does it charge any fees to print any filed documents. Normal filing fees must be paid,
     but this can be done on-line.                 ·


             Parties represented by an attorney: An attorney representing a party who is served with
     this notice must either: 1) immediately record his or her representation within the e-filed matter on
     the NYSCEF site; or 2) file the Notice of Opt-Out form with the clerk of the court where this action
     is pending. Exemptions from mandatory e-filing are limited to attorneys who certify in good faith that
     they lack the computer hardware and/or scanner and/or internet connection or that they lack (along
     with all employees subject to their direction) the operational knowledge to comply with e-filing
     requirements. [Section 202.5-bb( e)]

             Parties not represented by an attorney: Unrepresented litigants are ex:empt from e-
     filing. They can serve and file documents in paper form and must be served with documents
     in paper form. However, an unrepresented litigant may participate in e-filing.


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         For information on how to participate in e-filing, unrepresented litigants should contact the
appropriate clerk in the court where the action was filed or visit www.nycourts .gov/efile-
unrepresented. Unrepresented litigants also are encouraged to visit www.nycourthelp .gov or
contact the Help Center in the court where the action was filed. An unrepresented litigant who
consents to e-filing may cease participation at any time. However, the other parties may continue
to e-file their court documents in the case.

      For additional information about electronic filing and to create a NYSCEF account, visit the
NYSCEF website at www.nycourts.gov/efile or contact the NYSCEF Resource Center (phone: 646-
386-3033; e-mail: efile@nycourts.gov).


Dated: November 3, 2017


                                                          1234 Delaware Avenue

                                                                         Address
Patrick J. Donoghue, Esq.                                 Buffalo, NY 14209

               Name
Godwin Hurley & Donoghue, LLP                             716-844-8350

               Firm Name                                                 Phone
                                                          pdonoghue @godwinhurleylaw.com

                                                                         E-Mail


        CSX Transportation, Inc.
To:
        500 Water Street

        Jacksonville, FL 32202




                                                                                             9/3/15


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        STATE OF NEW YORK
        SUPREME COURT:    COUNTY OF ERIE



        JOSHLYN M. WASHINGTON, Individually, and as
        Parent and Natural Guardian of
        J       M. B       , an infant                                      SUMMONS

        Buffalo, New York 14213                                             INDEX NO: _ _ _ __

                              Plaintiff,

               vs.

        CSX TRANSPORTATION, INC.
        500 Water Street
        Jacksonville, Florida 32202

                              Defendant.



        TO THE ABOVE NAMED DEFENDANT:

               YOU ARE HEREBY SUMMONED and required to serve upon the Plaintiff's attorney, at

        his address stated below, an Answer to the attached Complaint.

               If this Summons was personally served upon you In the State of New York, the Answer

        must be served within twenty (20) days after service of the Summons, excluding the date of

        service. If the Summons was not personally delivered to you within the State of New York, the

        Answer must be served within thirty (30) days after service of the Summons is complete as

        provided by law.

               If you do not serve an Answer to the attached Complaint within the applicable time

        limitation stated above, a judgment will be entered against you, by default, for the relief

        demanded in the Complaint without further notice to you.




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               The Plaintiff designated Erie County as the place of trial; the basis of venue is the

        Plaintiffs residence,                        Buffalo, New York, County of Erie.

        DATED: October31, 2017

                                                      GODWIN HURLEY & DONOGHUE, LLP

                                              BY:    /s/ PatrickJ. Donoghue
                                                     Patrick J. Donoghue, Esq.
                                                     Attorneys for Plaintiff
                                                     Office & PO Address
                                                     1234 Delaware Avenue
                                                     Buffalo, New York 14209
                                                     Tel: 716.844.835Q
                                                     Fax: 716.235.2500
                                                     Email: pdonoghue@godwinhurleylaw.com




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        STATE OF NEW YORK
        SUPREME COURT:    COUNTY OF ERIE


        JOSHLYN M. WASHINGTON, Individually and as
                                                                                  COMPLAINT
        Parent and Natural Guardian of
        J       M. B       , an infant
                                                                                  INDEX NO:._ _ _ __


                                               Plaintiff,

               vs.

        CSX TRANSPORTATION, INC.,

                                               Defendant.




               Plaintiff, JOSHLYN M. WASHINGTON, lndiVidually and as Parent and Natural Guardian of

        J       M. B          , an infant, by and through their attorneys, GODWIN HURLEY & DONOGHUE

        LLP, as and for their Complaint against defendant, CSX TRANSPORTATION, INC., hereby allege

        the following:

               1. At all relevant times herein, plaintiff, JOSHLVN M. WASHINGTON and J            M.

        B        resided at                          , Buffalo, New York 14213 and/or                  ,

        Buffalo, New York 14214.

               2. At all relevant times herein, plaintiff, JOSHYLN M. WASHINGTON was the parent and

        natural guardian of J        M. B           , an infant.

               3. On April 28, 2017, plaintiff, J           M. B     was eight years old and resided with

        his mother, JOSHVLYN M. WASHINGTON.




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                  4. At all relevant times herein, defendant, CSX TRANSPORTATION, INC., was a Virginia

        Corporation with headquarters in Jacksonville, Florida.

                  5. At all relevant times herein, defendant, CSX TRANSPORTATION, INC., was a registered

        foreign corporation authorized to do business in the State of New York and was a common

        carrier by railroad engaged in interstate rail transportation and commerce.




                                    AS AND FOR PLAINTIFFS' FIRST CAUSE OF ACTION

                  6. Plaintiff, JOSHLYN M. WASHINGTON, individually, and as parent and natural guardian

        of J         M. B           , repeat and re-allege paragraphs "1" through "5" with the same force

        and effect as if more fully set forth herein.

                  7. The subject incident occurred on or about April 28, 2017, at approximately 4:30 p.m.

        on tracks owned by defendant, CSX TRANSPORTATION, INC., near Goodyear Avenue and

        Sycamore Street in the City of Buffalo, State of New York.

                  8. At the above described time and location, plaintiff, J             M. B        , was visiting

        the home of H           F      located at                           in the City of Buffalo, State of New

        York.

                  9. Shortly after arriving at the location, plaintiff, J        M. B          , and two of Ms.

        F       's children exited the home and proceeded over defendant, CSX TRANSPORTATION, INC.'s

        railroad tracks that separate Goodyear Avenue from the Harvey Austin playground.

                  10. It is regular and customary for children and adults living in and around the subject

        area to use the informal cut-through across defendant, CSX TRANSPORTATION, INC's railroad

        tracks.




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                11. Defendant, CSX TRANSPORTATION, INC., knew or should have known, that this area

        of their tracks was regularly being used as a cut-through by residents in the subject area and

        they failed to take any measures to prevent or discourage pedestrians from using the subject

        cut-through despite prior serious injuries in and around the subject area.

               12. In the course of plaintiff, J       M. B        , traversing the subject cut-through,

        his pants were caught on the coupler of a railcar and he was dragged by the train resulting in

        the de-gloving of his right foot and ultimately the amputation of his right foot.

               13. Defendant, CSX TRANSPORTATION, INC., was negligent in the following manner:

        it failed in its duty as a landowner and rail carrier to take reasonable and necessary actions to

        keep its property safe and free of danger; it failed to warn pedestrians in the subject area of

        hazards then and there existing; it failed to erect barriers and/or other devices to prevent

        pedestrians from entering the subject area; it failed to adequately address prior complaints

        from residents in and about the area of hazards and dangers that existed on their property

        around the subject area; it failed to employ adequate numbers of railroad police to patrol the

        area at the time of train movements to prevent pedestrians from entering the subject area; it

        failed to provide adequate and consistent training to its operating personnel to identify and

        remedy unsafe walking conditions on its property; it failed to provide effective cautionary

        communications to pedestrians; it failed to meet industry standards and guidelines; and it was

        otherwise negligent in the operation of its business in interstate rail transportation and

        commerce.




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                14. As a result of the aforesaid negligence, J        M. B          , was caused to suffer

        severe and permanent injuries, including, but not limited to a right foot amputation above the

        ankle; past and future pain and suffering; a diminished earning capacity; lost future wages;

        disfigurement; mental anguish and suffering; a decreased quality of life and other damages.

               15. Plaintiff demands trial by jury.



                              AS AND FOR PLAINTIFFS' SECOND CAUSE OF ACTION

               16. Plaintiffs repeat and re-allege each and every allegation in paragraphs "1" through

        "15" with the same force and effect as if more fully set forth herein.

               17. The claim of the plaintiff, JOSHLYN M. WASHINGTON, is derivative in nature for

        medical expenses, wage loss, and loss of services.

               18. As a result of the negligence of defendant, CSX TRANSPORTATION, INC., in causing

        severe injuries to plaintiff-infant, the parent and natural guardian of J        M. B        ,

        JOSH LYN M. WASHINGTON, was and will be in the future deprived of his services; was and will

        be compelled to spend money for medical care and treatment; was and will be deprived of the

        comfort and happiness derived from his society and companionship; and has suffered and will

        continue to suffer great mental anguish and emotional distress all to her damage.

               19. As a result of the above, plaintiff, JOSHLYN M. WASHINGTON, has been damaged in

        an amount of money that exceeds the jurisdictional limits of all lower courts.

               20 Plaintiff demands trial by jury.




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                             WHEREFORE, plaintiffs, JOSHLYN M. WASHINGTON, indiVidually, and as parent and

                   natural guardian of J                   M. B             , an infant, hereby demands Judgment in their favor

                   against defendant, CSX TRANSPORTATION, INC., in an amount that shall fully and fairly

                   compensate them; together with such other and further relief as this court deems just and

                   appropriate.

                   DATED: October 3 I, 2017

                                                                                  GODWIN HURLEY & DONOGHUE, LLP

                                                                        BY:       /s/ Patrick J. Donoghue
                                                                                  PatrickJ. Donoghue, Esq.
                                                                                  Attorneys for Plaintiff
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